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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF GEORGIA
                          VALDOSTA DIVISION

TERESA ALEXANDER,                             CASE NO. 7:21-cv-86(HL)

      Plaintiff,

v.

THOMAS UNIVERSITY, INC., and
HONEY LAKE CLINIC, INC.,

     Defendants.
________________________________/

                            AMENDED COMPLAINT

      Plaintiff, TERESA ALEXANDER, hereby sues Defendants, THOMAS

UNIVERSITY, INC., and HONEY LAKE CLINIC, INC., and alleges:

                                  JURISDICTION

      1.      This is an action brought under the Americans with Disabilities Act,

codified at 42 U.S.C. § 12101, et seq., and under the Rehabilitation Act, codified at

29 U.S.C. §794 et seq., and 42 U.S.C. §1981a.

      2.      This is an action involving claims which are, individually, in excess of

Seventy-Five Thousand Dollars ($75,000.00).

                                  THE PARTIES

      3.      At all times pertinent hereto, Plaintiff, TERESA ALEXANDER, has

been a resident of the State of Florida and was enrolled in the educational programs
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of Defendants THOMAS UNIVERSITY, INC., and HONEY LAKE CLINIC, INC.

Plaintiff is a member of a protected class due to her actual or perceived mental

disability and/or record of impairment of which both Defendants were aware.

Further, Plaintiff reported Defendants’ unlawful practices and has been retaliated

against thereafter by both Defendants.

      4.      At all times pertinent hereto, Defendant, THOMAS UNIVERSITY,

INC., has been organized and existing under the laws of the state of Georgia and was

conducting business within the geographical boundaries of this Court. At all times

pertinent to this action, Defendant THOMAS UNIVERSITY, INC., has been an

educational institution as that term is used under the applicable laws identified

above. Upon information and belief, Defendant THOMAS UNIVERSITY, INC.,

receives federal funds to support the program that Plaintiff was enrolled in and/or

for Plaintiff’s participation in its program.

      5.      At all times pertinent hereto, Defendant, HONEY LAKE CLINIC,

INC., has been organized and existing under the laws of the State of Florida.

Moreover, Defendant HONEY LAKE CLINIC, INC., accepts practicum students

from private institutions such as Defendant THOMAS UNIVERSITY, INC., as well

as from public institutions such as Florida State University. At all times pertinent to

this action, Defendant has been associated with Defendant THOMAS

UNIVERSITY, INC., an educational institution. Upon information and belief,
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Defendant HONEY LAKE CLINIC, INC., receives federal funds to support the

program that Plaintiff was enrolled in and/or for Plaintiff’s participation in its

program.

                            CONDITIONS PRECEDENT

       6.      Plaintiff has satisfied all conditions precedent to bringing this action, if

any.

                   STATEMENT OF THE ULTIMATE FACTS

       7.      Plaintiff   began    her    education     with    Defendant     THOMAS

UNIVERSITY, INC. (hereinafter “UNIVERSITY”), in its Master’s degree program

for Clinical Mental Health and Clinical Rehabilitation Counseling on or about June

2018 until her unlawful dismissal on or around August 2019. Plaintiff began her

practicum course (which was required by Defendant UNIVERSITY) with Defendant

HONEY LAKE CLINIC, INC. (hereinafter “HONEY LAKE”), on or about June 2,

2019 until her unlawful dismissal on or around July 11, 2019.

       8.      Plaintiff has been subjected to disparate treatment, as well as subjected

to different terms and conditions of her education, and was held to a different

standard because of an actual or perceived mental disability and/or record of

impairment, and she has been retaliated against after reporting this discrimination.

       9.      Plaintiff is an individual that has a disability as defined under the

Americans with Disabilities Act (ADA). Plaintiff has the mental impairments
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dyslexia and dysgraphia that substantially limit one or more of her major life

activities, including but not limited to thinking, concentrating, focusing, reading,

learning, and working.

      10.   On or about June 6, 2018, Plaintiff requested the reasonable

accommodations of, including but not limited to, extra time on tests and audiobooks

in an email to Defendant UNVERSITY’s Director of Student Disability Support

Service and Division Chair of Counseling and Psychology Dr. Pauline Patrick.

      11.   On or about July 16, 2018, Dr. Patrick finally responded to Plaintiff in

an email and asked her for supporting medical documentation to approve her for

accommodations. Plaintiff promptly returned all the supporting medical

documentation. Defendant UNIVERSITY did grant Plaintiff the accommodation of

extra time on tests; thus acknowledging her disability; however, Defendant

UNIVERSITY denied her audiobooks.

      12.   Plaintiff requested the reasonable accommodation of audio books for

her classes because audiobooks help her with comprehension and efficiency.

Defendant UNIVERSITY denied Plaintiff’s request of audiobooks because Plaintiff

is not blind; thus, Defendant UNIVERSITY treated Plaintiff differently than

students with physical disabilities who request accommodations.

      13.   Despite its knowledge of Plaintiff’s dyslexia and dysgraphia,

Defendant UNIVERSITY disseminated the opinion that Plaintiff had poor writing
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skills. For example, on or around March 6, 2019, Dr. Pauline Patrick told Defendant

UNIVERSITY employees Program Director Dr. Cristina Jones and Academic

Advisor Donya Manning in an email that Plaintiff’s professional writing was poor.

After Dr. Patrick’s email, Defendant UNIVERSITY began to scrutinize Plaintiff’s

writing assignments, causing Plaintiff extreme stress which exacerbated her chronic

medical condition.

      14.    Plaintiff was required to take a practicum course as part of Plaintiff’s

education with Defendant UNIVERSITY. On or about May 2019, Plaintiff requested

Defendant HONEY LAKE, a mental health facility, to allow her to complete her

course in its facility. Defendant HONEY LAKE accepted Plaintiff as a practicum

student on or about June 1, 2019.

      15.    On or about June 2, 2019, Plaintiff began her practicum course at

Defendant HONEY LAKE. On or about June 4, 2019, Plaintiff told Defendant

HONEY LAKE’s Clinical Director Thomas Smith that she had dyslexia and

dysgraphia which affected her ability to write. She told Smith that she had her own

laptop and writing tools which would assist her with her writing. She then requested

the reasonable accommodations of extra time to turn in assignments as well as

someone to check over her writing. Defendant HONEY LAKE refused to engage in

the interactive process with Plaintiff, and Smith responded to her request by stating

that he would get [Defendant UNIVERSITY] to “fix that.”
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         16.   On or about June 5, 2019, Defendant HONEY LAKE’s Assistant

Clinical Director Jessica Greenhalgh told Clinical Director Smith that Plaintiff’s

notes which she uploaded into its computer system (known as KUPI) were not good.

Plaintiff’s disability did affect her ability to write notes, as Defendant HONEY

LAKE was aware. No one within Defendant HONEY LAKE offered to

accommodate Plaintiff or show her how to address her mistakes; instead, Defendant

HONEY LAKE revoked her ability to get into the computer system. Plaintiff then

had no way of uploading her progress notes within Defendant HONEY LAKE.

         17.   Defendant HONEY LAKE therefore did not allow Plaintiff sufficient

access to its educational facilities; however, it allowed its other practicum student

Jessica l/n/u, who upon information and belief is not disabled with dyslexia or

dysgraphia, to have access to its KUPI computer system to upload her progress

notes.

         18.   Defendant HONEY LAKE’s actions humiliated and embarrassed

Plaintiff, and she was afraid to oppose this mistreatment to Defendant HONEY

LAKE for fear of losing her place in the practicum course. Plaintiff then began doing

extra work, including but not limited to keeping two (2) sets of notes. She began

sending one (1) set of progress notes to Defendant UNIVERSITY, and she saved the

other set of progress notes to her laptop in order to show Defendant HONEY LAKE

in the event Defendant HONEY LAKE asked to see her notes, which it never did.
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      19.    On    or   about    June   2019,   Plaintiff   reported   to   Defendant

UNIVERSITY’s Program Director Cristina Jones that Defendant HONEY LAKE

was treating her differently than other students by not allowing her to upload her

notes into its system. Jones told her that Defendant UNIVERSITY would help her

with her notes, but no changes were made at Defendant HONEY LAKE.

Furthermore, Defendant UNIVERSITY only checked over Plaintiff’s notes

approximately three (3) times.

      20.    Plaintiff did all the work that Defendant HONEY LAKE asked her to

do, including but not limited to attending group counseling sessions with patients.

Plaintiff made sure to ask multiple therapists at Defendant HONEY LAKE if her

work was sufficient. These therapists always told Plaintiff that she was doing well.

      21.    In or around July 11, 2019, Defendant HONEY LAKE unexpectedly

terminated Plaintiff from its Clinic in an email. Defendant HONEY LAKE did not

provide a reason for her termination. At the time of Plaintiff’s termination, she had

already completed sixty-six (66) hours of her practicum course, and had only thirty-

four (34) hours remaining wherein she would have completed the course. Defendant

HONEY LAKE’S action severely damaged Plaintiff in that she was not able to

complete a required course for her degree with only three (3) weeks left in the course.

Defendant HONEY LAKE’s unwarranted and untimely termination made it

extremely unlikely that Plaintiff would find another practicum site.
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      22.    Plaintiff opposed the termination by Defendant HONEY LAKE in an

email written to Dr. Smith, on or around July 12, 2019, and requested to be given a

reason for her termination. Dr. Smith would not give her a reason, and simply told

her to ask Defendant UNIVERSITY Program Director Dr. Cristina Jones why she

was fired. This shows that Dr. Jones, and thus Defendant UNIVERSITY, was, at

least in part, responsible for Plaintiff’s termination from Defendant HONEY LAKE.

      23.    Plaintiff opposed this termination by Defendant HONEY LAKE to

Defendant UNIVERSITY on or around July 12, 2019. Defendant UNIVERSITY’s

Program Director Jones told Plaintiff on or around July 12, 2019 that Defendant

HONEY LAKE’s Clinical Director Smith had called Jones prior to her termination

to complain about Plaintiff, and so Jones told Smith to fire Plaintiff. Thus, Defendant

UNIVERSITY not only failed to advocate for the disabled student Plaintiff,

Defendant UNIVERSITY was the cause, at least in part, of Plaintiff’s termination

from Defendant HONEY LAKE.

      24.    On or about July 12, 2019, Plaintiff opposed the termination by

Defendant HONEY LAKE to Defendant UNIVERSITY’s Program Director Jones.

Jones then told Plaintiff that Defendant HONEY LAKE’s Clinical Director Smith

complained about her writing. Plaintiff told Jones that was impossible because Smith

had never looked at her writing, as he did not allow her to write in Defendant

HONEY LAKE’s computer system.
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      25.    On or about July 15, 2019, Plaintiff sent Defendant UNIVERSITY

Program Director Cristina Jones an email that showed that Defendant HONEY

LAKE did not provide her any opportunity to utilize her skills, and that Dr. Smith

was spreading false allegations about her. This email showed that Defendant

HONEY LAKE gave her no clients, and thus failed to provide her equal access to

its educational facilities, from on or about June 3, 2019 throughout July 9, 2019.

      26.    On or around July 18, 2019, Defendant UNIVERSITY retaliated

against Plaintiff for her reporting of disparate treatment when it summoned Plaintiff

to a remediation session. On or around that same date, Plaintiff requested that

Defendant UNIVERSITY provide her with an advocate from its Student Disability

Support Service Center. Defendant UNIVERSITY denied her this reasonable

request. Plaintiff felt afraid to go to this retaliatory remediation session alone based

on Defendant UNIVERSITY’s past behavior towards her. Therefore, Plaintiff was

forced to bring her brother, David Alexander, to serve as her disability advocate even

though he has no training as a disability specialist.

      27.    No resolution was made at this meeting. Defendant UNIVERSITY

failed to sufficiently engage in the interactive process with Plaintiff, and refused to

allow her to finish her thirty-four (34) remaining practicum hours at a different site.

Defendant UNIVERSITY told her that she would be receiving an “Unsatisfactory”

for her practicum course despite having an “A” in the course up to the date of her
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termination because she lacked the requisite hours. However, the reason she lacked

the requisite hours was due to Defendant UNIVERSITY and Defendant HONEY

LAKE’s disparate treatment of her based on her disability. Plaintiff requested the

reasonable accommodation of receiving an “Incomplete” for her practicum course

which would mean she could finish the thirty-four (34) hours at a different practicum

site without having to re-take the entire course which would include the sixty-six

(66) hours she had already completed. Defendant UNIVERSITY denied her this

reasonable request for an accommodation.

      28.    On or around July 19, 2019, Plaintiff contacted Defendant HONEY

LAKE in an attempt to discover more information regarding her unexplained

termination. Defendant HONEY LAKE refused to respond. On or around that same

date, in an email, Defendant UNIVERSITY reprimanded Plaintiff for her attempt to

contact Defendant HONEY LAKE, and told her condescendingly that she needed to

stop engaging in unprofessional behavior.

      29.    On or around August 1, 2019, Plaintiff reported in an email to

Defendant UNIVERSITY’s President, Dr. James Sheppard, specifically and without

limitation that Defendant UNIVERSITY discriminated against her and harassed her;

that she requested help from Dr. Jones and Vice President of Academic Affairs Dr.

John Meis for her disability and never received help and instead was retaliated

against; that Dr. Jones had Dr. Smith terminate her from the practicum site at
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Defendant HONEY LAKE; there was no documentation of any wrongdoing on her

part at Defendant HONEY LAKE which would warrant termination; and that

protocol was not followed prior to her termination from Defendant HONEY LAKE.

She further requested the reasonable accommodation of receiving an “Incomplete”

instead of an “Unsatisfactory” from her practicum site. President Sheppard took no

corrective action and instead told Plaintiff to go to Defendant UNIVERSITY’s

Human Resources department.

      30.   Subsequently, and in retaliation for her reports of discrimination, on or

sometime before August 16, 2019, Defendant UNIVERSITY effectively dismissed

Plaintiff from its program. Defendant UNIVERSITY wrote in an email to Plaintiff

that she was being forced to complete an Action Plan “in order for her to return to

Thomas University.” SEE EXHIBIT A. In the Action Plan, Defendant

UNIVERSITY specifically and without limitation required Plaintiff to complete

additional coursework in writing classes even though the courses were not required

for Plaintiff’s degree. The mandated classes were writing intensive and Defendant

assigned them to her due to her dyslexia and/or dysgraphia. Other students who were

not disabled did not have complete this additional coursework to remain in

Defendant UNIVERSITY’s program.

      31.   It was only after Plaintiff reported the discrimination to Defendant

UNIVERSITY President Sheppard that Defendant UNIVERSITY demanded she
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take remedial classes or she would not be allowed to remain in the program. Prior to

her report to its President, Defendant UNIVERSITY only suggested that she take

classes to help her with her writing when Plaintiff pleaded for extra help multiple

times.

         32.   Moreover, the Action Plan required Plaintiff to specifically and without

limitation: (1) maintain an “A,” “B,” or “S” as her grade in each course throughout

her studies; (2) maintain a cumulative GPA of 3.0 throughout her graduate studies;

(4) agree to audit and complete all coursework in two courses not required for her

degree and agree to successfully complete one course not required for her degree;

(5) completely retake her practicum course and complete all 100 hours despite the

fact that she already completed sixty-six hours; (6) meet with her academic advisor

weekly; (7) commit herself to studying a minimum of three hours per week for each

course; (8) request tutoring or additional help for any courses in which her overall

grade falls below a “B” or an “S;” (9) meet with her professors as requested and

notify them quickly if she is having difficulty in any course; (10) understand she

may only have this one Action Plan during her time in the program; and (11) if she

earns a “C” or a “U” or lower in any course she will never be able to re-enroll in any

program at Defendant UNIVERSITY. SEE EXHIBIT B.




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      33.    Defendant UNIVERSITY’s demanding and rigid Action Plan tailored

specifically for Plaintiff was clearly an act of retaliation and punishment for

Plaintiff’s reports of its disparate treatment of her to its President, Dr. Sheppard.

      34.    Plaintiff is a stellar student, with a 3.5 GPA, but Defendant

UNIVERSITY imposed harsh requirements on her that it did not impose on non-

disabled students, and then dismissed her. Defendant HONEY LAKE revoked

privileges from her that it did not revoke from non-disabled students, and then

dismissed her with no reason given.

      35.    Despite Plaintiff’s clarity and insistence in communicating her need for

more accommodation, Defendant UNIVERSITY and Defendant HONEY LAKE

failed to grant her requests. Instead, Defendants continued in disparate treatment of

Plaintiff and complained about Plaintiff’s writing issues which were directly

impacted by the failure of Defendants to take appropriate and adequate action on

behalf of Plaintiff. Plaintiff was continually mistreated and retaliated against, which

eventually resulted in Plaintiff’s unjustified termination and/or dismissal.

      36.    Plaintiff has been damaged mentally, emotionally and financially as a

result of Defendants’ actions, and the possible permanent barrier which has been

imposed on Plaintiff’s education is the direct result of Defendant UNIVERSITY and

Defendant HONEY LAKE’s disparate treatment, failure to provide reasonable

accommodations, and failure to engage in the interactive process.
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      37.   Plaintiff has retained the undersigned to represent her interests in this

cause and is obligated to pay a fee for these services. Defendant should be made to

pay said fee under the statutes referenced above.

                                   COUNT I
                      DISABILITY DISCRIMINATION
            (Brought by Plaintiff Against Defendant UNIVERSITY)

      38.   Paragraphs 1 through 37 above are re-alleged and incorporated herein.

      39.   This count sets forth a claim for discrimination on the basis of

Plaintiff’s actual or perceived mental or physical disability and/ or record of

impairment, brought under 42 U.S.C. §12101, specifically 42 U.S.C Subchapter III,

Public Accommodations and Services Operated by Private Entities, codified at §§

12181-12189.

      40.   Defendant is a public accommodation as that term is used under the

applicable statutes referenced above.

      41.   Plaintiff has been a victim of discrimination on the basis of actual or

perceived disability and/or record of impairment. During the course of Plaintiff’s

education with Defendant, Plaintiff was treated differently than similarly situated

students who are non-disabled, not perceived as disabled, or do not have a

comparable record of impairment to Plaintiff.

      42.    Defendant is liable for the differential treatment and its refusal to

accommodate Plaintiff, which adversely affected a term, condition, or privilege of
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Plaintiff’s education with Defendant as those terms are used in the applicable

statutes.

       43.      Defendant controlled the actions and inactions of the persons making

decisions affecting Plaintiff or it knew or should have known of these actions and

inactions and failed to take prompt and adequate remedial action or took no action

at all to prevent the abuses to Plaintiff.

       44.      In essence, the actions of agents of Defendant, which were each

condoned and/or ratified by Defendant, were disability/perceived disability-based

and in violation of the laws set forth herein.

       45.      The discrimination complained of herein affected terms, conditions,

and privileges of Plaintiff's continued education with Defendant. The events set forth

herein led, at least in part, to Plaintiff’s dismissal from its educational program.

       46.      Defendant’s acts and omissions constituted intentional discrimination

and unlawful practices based upon disability or perceived disability, under the laws

cited herein.

       47.      As a direct and proximate result of Defendant’s conduct described

above, Plaintiff has suffered emotional distress, mental pain and suffering, past and

future pecuniary losses, inconvenience, mental anguish, loss of enjoyment of life

and other non-pecuniary losses, along with lost back and front pay, interest on pay,

bonuses, and other benefits. These damages have occurred in the past, are occurring
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at present, and likely will continue in to the future. Plaintiff is entitled to

equitable/injunctive relief under this count, as well as attorney’s fees.

                                    COUNT II
                              ADA RETALIATION
            (Brought by Plaintiff Against Defendant UNIVERSITY)
      48.    Paragraphs 1 through 37 above are re-alleged and incorporated.

      49.    Defendant is a public accommodation as that term is used under the

applicable statutes referenced above.

      50.    This count sets forth a claim for unlawful retaliation under 42 U.S.C

§12203.

      51.    Defendant retaliated against Plaintiff for opposing Defendant’s

unlawful acts or practices or because Plaintiff made a charge, testified, assisted, or

participated in any manner in an investigation, proceeding, or hearing under 42

U.S.C. §12101, et seq. and adverse actions were then taken against Plaintiff.

      52.    Alternatively, Defendant coerced, intimidated, threatened, or interfered

with Plaintiff’s rights under 42 U.S.C. §12101, et seq. as a result of Plaintiff

exercising or enjoying Plaintiff’s rights granted under 42 U.S.C. §12101, et seq or

encouraging another to do so.

      53.    The foregoing unlawful actions by Defendant were purposeful.

      54.    Because of Plaintiff’s reporting, Plaintiff was the victim of retaliation,

as relayed in part above, including without limitation Plaintiff’s dismissal.
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      55.    Plaintiff became a member of a protected class after reporting

Defendant’s unlawful practices and was subject to retaliation thereafter. There is a

causal connection between the reporting of the unlawful practices and the adverse

actions taken thereafter, including without limitation dismissal from the program.

      56.    As a direct and proximate result of the foregoing unlawful acts and

omissions, Plaintiff has suffered mental anguish, emotional distress, expense, loss

of benefits, embarrassment, humiliation, damage to reputation, illness, lost wages,

loss of capacity for the enjoyment of life, and other tangible and intangible damages.

These damages have occurred in the past, are occurring at present, and will likely

continue in to the future. Plaintiff is entitled to equitable/injunctive relief and

attorney’s fees under this count.

                                  COUNT III
               VIOLATION OF THE REHABILITATION ACT
               DISABILITY/ HANDICAP DISCRIMINATION
            (Brought by Plaintiff Against Defendant UNIVERSITY)

      57.    Paragraphs 1 through 37 are incorporated herein by reference. This is

an action against Defendant for discrimination based on handicap and/or disability.

      58.    Plaintiff actively or perceptively suffered from a physical or mental

disability that substantially limits one or more of Plaintiff’s major life activities and/

or Plaintiff has a record of such impairment.




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       59.    Defendant is a university subject to the requirements under the

Rehabilitation Act, codified at 29 U.S.C. §794 et seq., because, under information

and belief, Defendant was receiving federal funds at the time of its discrimination

against Plaintiff.

       60.    Defendant, solely because of Plaintiff's handicap/disability, excluded

Plaintiff’s participation in, denied Plaintiff the benefits of, or subjected Plaintiff to

discrimination under a program or activity as defined in the relevant statute. This

was accomplished through Defendant’s agents, apparent agents, and employees.

       61.    Defendant took action against Plaintiff because of Plaintiff’s disabling

condition, Alternatively, Defendant perceived Plaintiff to be disabled and took

action against her as a result thereof and/or refused to reasonably accommodate her.

       62.    There is no legitimate reason that has been offered by Defendant nor

can there be any legitimate reason for the adverse treatment of Plaintiff.

       63.    Defendant knew or should have known of these conditions as they were

open and notorious and well known to Defendant. The adverse treatment of Plaintiff,

together with the facts set forth above, were brought to the attention of Defendant

and Defendant perpetuated this treatment by condoning the actions and inactions

affecting Plaintiff.

       64.    Defendant harbored ill-motives and intent to cause disparate and

retaliatory treatment of Plaintiff.
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      65.    Defendant is responsible for the violations of Plaintiff's rights as set

forth herein because it exercised control over the adverse treatment of Plaintiff. In

the alternative, Defendant failed to properly supervise its employees thereby causing

foreseeable harm to Plaintiff's rights set forth herein.

      66.    As a direct and proximate cause of Defendant's actions described

above, Plaintiff has sustained damages including but not limited to mental, nervous,

and emotional injury. Plaintiff has incurred additional damages including lost wages,

pain and suffering, mental anguish, loss of capacity for the enjoyment of life, and

other damages. These damages have occurred in the past, are occurring at present

and will continue in the future. Plaintiff is entitled to injunctive/equitable relief and

compensatory damages under this count.

                                   COUNT IV
                      DISABILITY DISCRIMINATION
            (Brought by Plaintiff Against Defendant HONEY LAKE)

      67.    Paragraphs 1 through 37 above are re-alleged and incorporated herein.

      68.    This count sets forth a claim for discrimination on the basis of

Plaintiff’s actual or perceived mental or physical disability and/ or record of

impairment, brought under 42 U.S.C. §12101, specifically 42 U.S.C Subchapter III,

Public Accommodations and Services Operated by Private Entities, codified at §§

12181-12189.


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      69.    Defendant is a private entity as that term is used under the applicable

statutes referenced above.

      70.    Plaintiff has been a victim of discrimination on the basis of actual or

perceived disability and/or record of impairment. During the course of Plaintiff’s

educational experience with Defendant, Plaintiff was treated differently than

similarly situated students who are non-disabled, not perceived as disabled, or do

not have a comparable record of impairment to Plaintiff.

      71.     Defendant is liable for the differential treatment and its refusal to

accommodate Plaintiff, which adversely affected a term, condition, or privilege of

Plaintiff’s educational experience with Defendant as those terms are used in the

applicable statutes.

      72.    Defendant controlled the actions and inactions of the persons making

decisions affecting Plaintiff or it knew or should have known of these actions and

inactions and failed to take prompt and adequate remedial action or took no action

at all to prevent the abuses to Plaintiff.

      73.    In essence, the actions of agents of Defendant, which were each

condoned and/or ratified by Defendant, were disability/perceived disability-based

and in violation of the laws set forth herein.

      74.    The discrimination complained of herein affected terms, conditions,

and privileges of Plaintiff's continued educational experience with Defendant. The
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events set forth herein led, at least in part, to Plaintiff’s dismissal from its educational

program.

       75.      Defendant’s acts and omissions constituted intentional discrimination

and unlawful practices based upon disability or perceived disability, under the laws

cited herein.

       76.      As a direct and proximate result of Defendant’s conduct described

above, Plaintiff has suffered emotional distress, mental pain and suffering, past and

future pecuniary losses, inconvenience, mental anguish, loss of enjoyment of life

and other non-pecuniary losses, along with lost back and front pay, interest on pay,

bonuses, and other benefits. These damages have occurred in the past, are occurring

at present, and likely will continue in to the future. Plaintiff is entitled to

equitable/injunctive relief under this count, as well as attorney’s fees.

                                     COUNT V
                               ADA RETALIATION
             (Brought by Plaintiff Against Defendant HONEY LAKE)
       77.      Paragraphs 1 through 37 above are re-alleged and incorporated.

       78.      Defendant is a private entity as that term is used under the applicable

statutes referenced above.

       79.      This count sets forth a claim for unlawful retaliation under 42 U.S.C

§12203.



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      80.      Defendant retaliated against Plaintiff for opposing Defendant’s

unlawful acts or practices or because Plaintiff made a charge, testified, assisted, or

participated in any manner in an investigation, proceeding, or hearing under 42

U.S.C. §12101, et seq. and adverse actions were then taken against Plaintiff.

      81.      Alternatively, Defendant coerced, intimidated, threatened, or interfered

with Plaintiff’s rights under 42 U.S.C. §12101, et seq. as a result of Plaintiff

exercising or enjoying Plaintiff’s rights granted under 42 U.S.C. §12101, et seq or

encouraging another to do so.

      82.      The foregoing unlawful actions by Defendant were purposeful.

      83.      Because of Plaintiff’s reporting, Plaintiff was the victim of retaliation,

as relayed in part above, including specifically and without limitation Plaintiff’s

dismissal.

      84.      Plaintiff became a member of a protected class after she reported

Defendant’s unlawful practices and was subjected to retaliation thereafter. There is

a causal connection between the reporting of the unlawful practices and the adverse

actions taken thereafter, including specifically and without limitation dismissal from

the program.

      85.      As a direct and proximate result of the foregoing unlawful acts and

omissions, Plaintiff has suffered mental anguish, emotional distress, expense, loss

of benefits, embarrassment, humiliation, damage to reputation, illness, lost wages,
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loss of capacity for the enjoyment of life, and other tangible and intangible damages.

These damages have occurred in the past, are occurring at present, and will likely

continue in to the future. Plaintiff is entitled to equitable/injunctive relief and

attorney’s fees under this count.

                                   COUNT VI
               VIOLATION OF THE REHABILITATION ACT
                DISABILITY/ HANDICAP DISCRIMINATION
            (Brought by Plaintiff Against Defendant HONEY LAKE)

      86.    Paragraphs 1 through 37 are incorporated herein by reference. This is

an action against Defendant for discrimination based on handicap and/or disability.

      87.    Plaintiff actively or perceptively suffered from a physical or mental

disability that substantially limits one or more of Plaintiff’s major life activities and/

or Plaintiff has a record of such impairment.

      88.    Defendant is a corporation subject to the requirements under the

Rehabilitation Act, codified at 29 U.S.C. §794 et seq., because, under information

and belief, Defendant was receiving federal funds at the time of its discrimination

against Plaintiff.

      89.    Defendant, solely because of Plaintiff's handicap/disability, excluded

Plaintiff’s participation in, denied Plaintiff the benefits of, or subjected Plaintiff to

discrimination under a program or activity as defined in the relevant statute. This

was accomplished through Defendant’s agents, apparent agents, and employees.

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       90.    Defendant took action against Plaintiff because of Plaintiff’s disabling

condition. Alternatively, Defendant perceived Plaintiff to be disabled and took

action against her as a result thereof and/or refused to reasonably accommodate her.

       91.    There is no legitimate reason that has been offered by Defendant nor

can there be any legitimate reason for the dismissal of Plaintiff.

       92.    Defendant knew or should have known of these conditions as they were

open and notorious and well known to Defendant. The adverse treatment of Plaintiff,

together with the facts set forth above, were brought to the attention of Defendant

and Defendant perpetuated this treatment by condoning the actions and inactions

affecting Plaintiff.

       93.    Defendant harbored ill-motives and intent to cause disparate and

retaliatory treatment of Plaintiff.

       94.    Defendant is responsible for the violations of Plaintiff's rights as set

forth herein because it exercised control over the adverse treatment of Plaintiff. In

the alternative, Defendant failed to properly supervise its employees thereby causing

foreseeable harm to Plaintiff's rights set forth herein.

       95.    As a direct and proximate cause of Defendant's actions described

above, Plaintiff has sustained damages including but not limited to mental, nervous,

and emotional injury. Plaintiff has incurred additional damages including lost wages,

pain and suffering, mental anguish, loss of capacity for the enjoyment of life, and
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other damages. These damages have occurred in the past, are occurring at present

and will continue in the future. Plaintiff is entitled to injunctive/equitable relief and

compensatory damages under this count.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment against Defendant for the

following:

             (a)    that process issue and this Court take jurisdiction over this case;

             (b)    that this Court grant equitable relief against Defendant under the

                    applicable counts set forth above, mandating Defendant’s

                    obedience to the laws enumerated herein and providing other

                    equitable relief to Plaintiff;

             (c)    enter judgment against Defendant and for Plaintiff awarding all

                    legally-available general and compensatory damages and

                    economic loss to Plaintiff from Defendant for Defendant’s

                    violations of law enumerated herein;

             (d)    enter judgment against Defendant and for Plaintiff permanently

                    enjoining Defendant from future violations of law enumerated

                    herein;

             (e)    enter judgment against Defendant and for Plaintiff awarding

                    Plaintiff attorney's fees and costs;
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           (f)    award Plaintiff interest where appropriate; and

           (g)    grant such other further relief as being just and proper under the

                  circumstances.

                      DEMAND FOR TRIAL BY JURY

     Plaintiff hereby demands a trial by jury on all issues herein that are so triable.

                                              Respectfully submitted,


                                              /s/ Jim Garrity
                                              Jim Garrity [GBN 121837]
                                              MARIE A. MATTOX, P. A.
                                              203 North Gadsden Street
                                              Tallahassee, FL 32301
                                              Telephone: (850) 383-4800
                                              Facsimile: (850) 383-4801
                                              jim@jimgarritylaw.com

                                              ATTORNEYS FOR PLAINTIFF

                        CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a true and correct copy of the foregoing has been
served upon all counsel of record by CM/ECF this 19th day of August, 2021.

                                              /s/ Jim Garrity
                                              Jim Garrity




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   EXHIBIT B
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